










	







IN THE COURT OF CRIMINAL APPEALS

OF TEXAS






NO. PD-0043-07






JOHN ROBERT FISCHER, Appellant



v.



THE STATE OF TEXAS








ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY





		Cochran, J., delivered the opinion of the Court in which Price,
Womack, Johnson, and Holcomb, JJ., joined.  Hervey, J., filed a dissenting
opinion in which Keller, P.J., Meyers, and Keasler, JJ., joined.


O P I N I O N 



	This case presents a novel question in Texas evidentiary law:  Are a law enforcement
officer's factual observations of a DWI suspect, contemporaneously dictated on his patrol-car
videotape, admissible as a present sense impression exception to the hearsay rule under Tex.
E. Evid. 803(1)? (1)  They are not.  An officer may testify in the courtroom to what he saw, did,
heard, smelled, and felt at the scene, but he cannot substitute or augment his in-court testimony
with an out-of-court oral narrative.  This calculated narrative in an adversarial setting was a
"speaking offense report."  It was not the type of unreflective, street-corner statement that the
present sense impression exception to the hearsay rule is designed to allow.  We therefore
agree with the Fourteenth Court of Appeals, which had held the same. (2)

I.


	At about 1:40 a.m. on May 29, 2004, DPS Trooper Martinez turned on his dashboard-mounted video camera and announced, on tape, that he was pulling over a driver who wasn't
wearing a seatbelt.  After the driver, appellant, parked his truck in his apartment complex
parking lot, Trooper Martinez approached appellant and began questioning him.  All of that
questioning was recorded through Trooper Martinez's body microphone and captured on
camera.  

	Trooper Martinez asked for appellant's driver's license and insurance; appellant
responded that he had just moved.  The trooper then asked appellant whether he had "any
alcohol in the car," and quickly added, "I smell alcohol."  Trooper Martinez then asked
appellant, "How much alcohol have you had this evening?"  And appellant replied, "Three
wines."  Trooper Martinez told appellant to stay where he was, and the trooper walked back to
his patrol car and dictated into his microphone that appellant had "glassy, bloodshot eyes" and
"slurred speech."  The trooper stated that he had smelled "the strong odor of alcoholic
beverage."  

	Trooper Martinez then walked back to appellant and asked him if there was any reason
why he was not wearing a seatbelt.  Appellant said that he was "depressed" over his recent
divorce.  Trooper Martinez asked appellant if he had any weapons or drugs.  Appellant said
"No," but Trooper Martinez opened the driver's door of appellant's truck and got inside to
make a cursory search.  Finding nothing, the trooper got back out and told appellant, "I'm going
to conduct a small exam of your eyes."  He directed appellant to stand outside the range of the
video camera and administered a horizontal gaze nystagmus (HGN) test.

	After the HGN test was completed, Trooper Martinez again left appellant and returned
to his patrol car and recorded the following observations:

	Subject has equal pupil size, equal tracking, has a lack of smooth pursuit in both
eyes, and has distinct nystagmus at maximum deviation in both eyes.  Subject
also has onset of nystagmus prior to forty-five degrees in both eyes.


Trooper Martinez also dictated into his microphone:  (1) he stated that he had seen a "wine
opener" in appellant's truck; (2) he repeated that there was a strong odor of alcohol on
appellant's breath; and (3) he again noted that appellant had glassy, bloodshot eyes and "slurred
speech." 

	The trooper then told appellant to stand in front of the patrol car and asked him to
perform field sobriety tests.  After appellant performed the heel-to-toe test, Trooper Martinez 
again told appellant to "stay right here," while he returned to his patrol car and dictated on tape
that "subject gave several clues," including the fact that appellant had started too soon, lost his
balance while being given instructions, failed to touch his heel to his toe, "stepped off  the line
two times," made an "improper turn," and used his hands for balance. 

	Trooper Martinez returned to where appellant was standing and told him to perform a
"one-leg stand" test.  After that test was completed, the trooper told appellant to remain where
he was, and the trooper once again returned to his patrol car where he verbally recorded that
appellant "gave several clues" to intoxication and noted that appellant swayed,  hopped, and put
his foot down twice.  Trooper Martinez recorded that he had given appellant "a second chance
to do it," but appellant "indicated the same clues."  Trooper Martinez then dictated:  "Subject
is going to be placed under arrest for DWI."  The videotape then shows Trooper Martinez
returning to appellant, saying, "I believe you are drunk," and arresting him.

	After appellant was charged with DWI, he filed a motion to suppress the audio portion
of the patrol-car videotape, claiming that it contained Trooper Martinez's "bolstering, self-serving statements about what he was allegedly doing and seeing."  It was "a highly prejudicial
and inflammatory narrative" of what Trooper Martinez would have the viewer believe was
taking place.  The trial judge denied appellant's motion and concluded that the  audio narrative
was admissible as a "present sense impression." (3)  Appellant then pled nolo contendere and
appealed the trial court's ruling on his motion to suppress Trooper Martinez's orally recorded
factual observations during his DWI investigation.

	The court of appeals concluded that the trial court had erred.  It held that Trooper
Martinez's recorded commentary did not qualify as a present sense impression:

	Instead, his comments are a calculated narrative statement in which Martinez
does not merely explain or describe events, but participates in and even creates
some of the events he reports in the course of collecting evidence. . . . It
therefore appears that Martinez recorded his comments not as an objective
observer, but as a law enforcement officer, as a lay witness, and as an expert
witness cataloging evidence and opinions for use in [appellant's] prosecution. (4)


Put bluntly, "Martinez's narrative is the functional equivalent of a police offense report[.]" (5)

	We granted the State's petition for review to decide this important issue of state
evidentiary law which, we understand, has arisen in several other cases as well. (6)

II.


	The hearsay doctrine, codified in Rules 801 and 802 of the Texas Rules of Evidence,
is designed to exclude out-of-court statements offered for the truth of the matter asserted that
pose any of the four "hearsay dangers" of faulty perception, faulty memory, accidental
miscommunciation, or insincerity. (7)  The numerous exceptions to the hearsay rule set out in
Rules 803 and 804 (8) are based upon the rationale that some hearsay statements contain such
strong independent, circumstantial guarantees of trustworthiness that the risk of the four
hearsay dangers is minimal while the probative value of such evidence is high. (9)  The  twenty-four hearsay exceptions listed in Texas Rule 803 may be roughly categorized into (1)
unreflective statements, (2) reliable documents, and (3) reputation evidence.  The rationale for
all of the exceptions is that, over time, experience has shown that these types of statements are
generally reliable and trustworthy. 

	The first set of hearsay exceptions, unreflective statements, are "street corner"
utterances made by ordinary people before any thoughts of litigation have crystallized. (10)  These
unreflective statements used to be called "res gestae," an imprecise Latin legalese term, (11)
because the speaker was not thinking about the legal consequences of his statements.  In most
instances, the speaker was not thinking at all; the statement was made without any reflection,
thought process, or motive to fabricate or exaggerate. (12)  

	One of those "unreflective statements" exceptions to the hearsay rule is defined in Rule
803(1), the present sense impression:

	A statement describing or explaining an event or condition made while the
declarant was perceiving the event or condition, or immediately thereafter. (13)

Statements that qualify under this exception are not excluded by the hearsay rule, even though
the declarant is available. (14)  

	Texas was the first jurisdiction to recognize this exception by name, (15) and its leading
case, Houston Oxygen Co. v. Davis, (16) is cited in the advisory committee's note to Federal
Rule 803(1). (17)  The facts in that case are typical of those that support the exception.  At trial,
the passenger of a car going down the highway testified that he saw another car pass theirs
going "sixty to sixty-five miles" an hour and that it was "bouncing up and down in the back and
zig zagging." (18)  The passenger then testified that the driver of the car turned to him and said that
"they must have been drunk, that we would find them somewhere on the road wrecked if they
kept that rate of speed up." (19)  Sure enough, five miles down the road the speeding car hit
another vehicle and caused the plaintiff's injuries.  The Texas Supreme Court held that the
passenger's recitation of what the driver said to him at the time the speeding car passed them
was admissible as a present sense impression because "[i]t is sufficiently spontaneous to save
it from the suspicion of being manufactured evidence.  There was no time for a calculated
statement." (20)   

	The rationale for the exception is that the contemporaneity of the statement with the
event that it describes eliminates all danger of faulty memory and virtually all danger of
insincerity.  This Court has previously explained that rationale:

	If a person observes some situation or happening which is not at all startling or
shocking in its nature, nor actually producing excitement in the observer, the
observer may yet have occasion to comment on what he sees (or learns from
other senses) at the very time that he is receiving the impression.  Such a
comment, as to a situation then before the declarant, does not have the safeguard
of impulse, emotion, or excitement, but there are other safeguards. In the first
place, the report at the moment of the thing then seen, heard, etc., is safe from
any error from defect of memory of the declarant.  Secondly, there is little or
no time for calculated misstatement, and thirdly, the statement will usually be
made to another (the witness who reports it) who would have equal opportunities
to observe and hence to check a misstatement.  Consequently, it is believed that
such comments, strictly limited to reports of present sense-impressions, have
such exceptional reliability as to warrant their inclusion within the hearsay
exception for Spontaneous Declarations. (21)


	The rule is predicated on the notion that "the utterance is a reflex product of immediate
sensual impressions, unaided by retrospective mental processes." (22)  It is "instinctive, rather
than deliberate." (23)  If the declarant has had time to reflect upon the event and the conditions he
observed,  this lack of contemporaneity diminishes the reliability of the statements and renders
them inadmissible under the rule. (24)

	Once reflective narratives, calculated statements, deliberate opinions, conclusions, or
conscious "thinking-it-through" statements enter the picture, the present sense impression
exception no longer allows their admission. (25)  "Thinking about it" destroys the unreflective
nature required of a present sense impression. (26)

	The State's first ground for review claims that the court of appeals in this case held that
Rule 803(8)(B), which explicitly excludes investigative reports by law enforcement from the
public records exception to the hearsay rule, "trumps" Rule 803(1) and disallows any out-of-court factual observations by police officers.  The court of appeals did not say this.  Of course
police officers, like the rest of humanity, may make spontaneous, unreflective,
contemporaneous present sense impression statements that qualify for admission under Rule
803(1). (27)  But the court of appeals appropriately looked to the rationale for excluding law
enforcement reports under Rule 803(8)(B) by analogy.  

	Both the federal and Texas hearsay rules have always excluded the crime-scene or
investigation observations of law enforcement officers because their factual observations,
opinions, and narrations are made while the officer is "engaged in the often competitive
enterprise of ferreting out crime." (28)  Rule 803(8)(B) expressly excludes "[r]ecords, reports,
statements,  or data compilations . . . setting forth . . . matters observed by police officers and
other law enforcement personnel" in a criminal case. (29)  The reason for this exclusion is the
inherently adversarial nature of any on-the-scene or post hoc investigation of a criminal
suspect. (30)  Congress explained the rationale for the rule excluding factual observations by
investigating police officers from the public records exception to the hearsay rule:

	Ostensibly, the reason for this exclusion is that observations by police officers
at the scene of the crime or the apprehension of the defendant are not as reliable
as observations by public officials in other cases because of the adversarial
nature of the confrontation between the police and the defendant in criminal
cases. (31)


	Although Rule 803(8)(B) does not "trump" Rule 803(1), the basis for exclusion of
police reports and investigative recordings is exactly the same under both rules.  The recorded
factual observations made by police officers investigating a suspected crime are not the type
of "non-reflective" street-corner statements of objective observers that the present sense
impression exception is designed to allow. (32)  Courts admit present sense impression
statements precisely because they are non-narrative, off-hand comments made without any
thought of potential litigation by a neutral and detached observer without any motive to
fabricate, falsify, or otherwise exaggerate his observations. (33)   

	Conversely, on-the-scene observations and narrations of a police officer conducting
a roadside investigation into a suspected DWI offense are fraught with the thought of a future
prosecution:  the police officer is gathering evidence to use in deciding whether to arrest and
charge someone with a crime. (34)  Calculation and criminal litigation shimmer in the air; the
officer is gathering evidence, he is not making an off-hand, non-reflective observation about
the world as it passes by. (35)  Similarly, factual observations, narrations, opinions, and
conclusions made by a citizen or bystander that might be intended by the declarant to be made
with an eye toward future litigation or evidentiary use are inadmissible under the rule. (36)

III.


	In this case, Trooper Martinez turned on his patrol-car video camera and microphone
even before he detained appellant.  He did this to accurately record his investigation and
preserve that interaction for possible trial. (37)  He continuously referred to appellant as "the
Subject"- the subject of his investigation.  He made four separate trips back to his patrol car
for the specific purposes of narrating what he had seen, smelled, and heard during his
investigatory stop.  He offered his opinions and conclusions about what his investigation of
appellant had revealed.  He narrated his impressions of how appellant had performed on various
investigatory field tests and then announced his conclusion:  "Subject is going to be placed
under arrest for DWI."  The entire tape-recorded narrative is, as the court of appeals concluded,
a speaking offense report. (38)

	Throughout this incident, Trooper Martinez was professionally and politely  "engaged
in the competitive enterprise of ferreting out crime." (39)  One applauds him for that worthy 
endeavor, but the adversarial nature of this on-the-scene investigation of a potential crime is
entirely at odds with the unreflective, instinctive comments of a "street-corner" speaker who
was not thinking about the legal consequences of his statements.

	The State argues that "[h]earsay may be admissible under one hearsay exception even
if it is inadmissible under another hearsay exception." (40)  That is correct, just as Justice Yates
concluded in her concurring opinion in this case. (41)  Here, however, the rationale for excluding
Trooper Martinez's recorded oral narrative of his on-the-scene investigation as a present sense
impression under Rule 803(1) is precisely the same as the rationale for excluding that
evidence under Rule 803(8)(B):  the presumed unreliability of law enforcement observations
in an adversarial, investigative setting.  Thus, Rule 803(1) cannot be used "as a 'back door' to
admit evidence explicitly inadmissible under Rule 803(8)(B)." (42)  	The State relies upon
several out-of-state cases for the proposition that law enforcement narrative observations may
be admissible under the present sense impression exception to the hearsay rule.  

	In one case, Utah v. Blubaugh, (43) the appellate court held that  a video recording of the
murder defendant's "messy home" was irrelevant and inadmissible, but harmless error, while
the officer's audio description of that "messy home" was not objected-to at trial.  In dicta, the
reviewing court suggested that it was admissible as a present sense impression. (44)  These might
appear to be contradictory holdings, but the Utah court did not elaborate on its reasoning in the
one-paragraph discussion.  Nor does it appear that the aural recording was anything more than
a description of the defendant's home.  In any event, we agree with the Houston Court of
Appeals that the issue of the admissibility of a recording of the factual observations of a law
enforcement agent made during an adversarial investigation was not raised in that case. (45)  

	The State also cites United States v. Rideout, (46) a vacated and unpublished opinion from
the Fourth Circuit in which the appellate court noted that the defendant's "blanket objection"
to the audio portion of a videotaped recording showing a drug-infested neighborhood
(described as "an open air crack market") did not preserve any error in its admission. (47)  But the
officer in Rideout was not focused upon the investigation of any particular person.  Apparently,
the videotape was simply a visual and audio recording of the appearance of a neighborhood,
much like a TV newscast showing and describing the destruction of a hurricane.  As with
Blubaugh, we  conclude that the question of whether a police office's narrative descriptions
of his factual observations in an adversarial investigation was neither present nor raised in
Rideout.  

	The State relies upon Ohio v. Penland, (48) a case that appropriately concluded that a
radioed recording by an officer in hot pursuit of a fleeing suspect was admissible as a present
sense impression. (49)  The court stated that the officer

	while pursuing the appellant, transmitted over his radio a description of the
appellant, the appellant's possession and disposal of the gun, and his
apprehension.  Each of the taped statements from that radio transmission
described an event or condition perceived by the officer, either as he perceived
it or immediately thereafter.  The circumstances surrounding the officer's
transmission of the statements, especially the perilous nature of the officer's
pursuit of the appellant, supply sufficient indicia of the statements'
trustworthiness. (50)


This scenario-the description of a chase while it is occurring, transmitted to his dispatcher-is
precisely the sort of unreflective, uncalculated, non-testimonial "street corner" statement that
is admissible under Rule 803(1), even when made by a law enforcement officer. (51)  Trooper
Martinez, unlike the pursuing officer in Penland, calmly walked back and forth from his patrol
car to the suspect, and he carefully and deliberately narrated the results of his DWI field tests
and investigation.  Trooper Martinez's recorded statements are "testimonial" and reflective in
nature; they are the type of statements that are made for evidentiary use in a future criminal
proceeding. (52)

	In sum, most of the statements made by Trooper Martinez on the videotape constituted
a calculated narrative in an adversarial, investigative  setting. (53)  These particular statements 
may be entirely reliable ones, but the setting is one that human experience and the law
recognizes is brimming with the potential for exaggeration or misstatement.   

	We therefore agree with the court of appeals which had held that Trooper Martinez's
recorded investigation narrative did not qualify for admission as a present sense impression
under Rule 803(1).  At trial, Trooper Martinez may testify to exactly what he saw and heard
during his investigative detention of appellant, and his words might be the very same as those
he used during his on-the-scene narrative, but they must be given under oath and subject to
cross-examination.  

	We affirm the judgment of the court of appeals.


Delivered:  January 16, 2008

Publish 		
1.  We granted the State's two grounds for review:


  The court of appeals erred in holding that the hearsay exception dealing with police offense
reports trumped the hearsay exception dealing with present sense impressions.
  The court of appeals erred in holding that the audio portion of the DWI traffic stop videotape
did not constitute present sense impressions.
2.  Fischer v. State, 207 S.W.3d 846, 848 (Tex. App.-Houston [14th Dist.] 2006) ("We hold
that a law enforcement officer may not avoid the restrictions on the evidentiary use of an offense report
by simply dictating the substance of that report.").
3.  Tex. R. Evid. 803(1).
4.  Fischer, 207 S.W.3d at 859.
5.  Id.
6.  See id. at 848 n.1 (noting that similar issues have arisen "in this and other courts," but that the
merits of the question of contemporaneously recording an officer's factual observations during his
criminal investigation of a suspect had "never been fully addressed"); see also Evans v. State, No. 14-05-00332-CR, 2006 Tex. App. LEXIS 5027 (Tex. App.- Houston [14th Dist.] June 13, 2006, pet.
ref'd) (not designated for publication) (concluding that Trooper Martinez's narrative of his on-the-scene
factual observations of a DWI suspect was cumulative and thus any error was harmless); Thompson v.
State, No. 12-03-00014-CR, 2003 Tex. App. LEXIS 10088 (Tex. App.-Tyler Nov. 26, 2003, pet.
ref'd) (not designated for publication) (officer's contemporaneously recorded, patrol-car videotaped
statements concerning driver's actions were hearsay because they were factual "matters observed by a
police officer in a criminal case"; "the trial court erred in admitting [the officer's] commentary on the
audio portion of the videotape recorded while following" the defendant, but error was harmless).
7.  See Olin G. Wellborn III, The Definition of Hearsay in the Federal Rules of Evidence, 61
Tex. L.Rev. 49, 52-53 (1982); Edmund M. Morgan, Hearsay Dangers and the Application of the
Hearsay Concept, 62 Harv. L. Rev. 177, 185-88 (1948); Laurence H. Tribe, Triangulating
Hearsay, 87 Harv. L. Rev. 957, 958-61 (1974).
8.  Additional exemptions from the operation of the hearsay rule are set out in Rule 801 which
simply defines those matters-such as party admissions, prior consistent statements, etc.- out of the rule
itself.  
9.  See 5 John H. Wigmore, Evidence in Trials at Common Law § 1420-1423, at 251-55
(Chadbourn rev. 1974) (discussing the exceptions to the hearsay rule and noting that they have been
generally based upon some combination of the unavailability of the declarant, the reliability of the
declaration, or the presumed inefficiency of any possible cross-examination).
10.  This is like the rationale used by the United States Supreme Court in Crawford v.
Washington, 541 U.S. 36, 61-62 (2004), and Davis v. Washington, 547 U.S. 813, ___, 126 S. Ct.
2266, 2273-74 (2006), to distinguish street-corner "nontestimonial" statements to law enforcement
officers from litigation-oriented "testimonial" statements.  Police interrogation statements relating to past
events relevant to a criminal prosecution are "testimonial statements" for purposes of the Confrontation
Clause, in part because of their adversarial nature and, in part, because the reasonable declarant would
recognize that the statements could be used in a future criminal prosecution.  See Davis 547 U.S. at 
___, 126 S. Ct. at 2273-74 (discussing when statements made to law enforcement personnel during a
911 call or at a crime scene are "testimonial" and thus subject to the requirements of the Sixth
Amendment's Confrontation Clause; concluding that "[s]tatements are nontestimonial when made in the
course of police interrogation under circumstances objectively indicating that the primary purpose of the
interrogation is to enable police assistance to meet an ongoing emergency.  They are testimonial when
the circumstances objectively indicate that there is no such ongoing emergency, and that the primary
purpose of the interrogation is to establish or prove past events potentially relevant to later criminal
prosecution."). 

	When the police are engaged in the competitive enterprise of detecting crime, investigating
crime, and gathering evidence for criminal prosecution, statements gathered during their interrogations
are testimonial "as a matter of law."  Brooks v. State, 132 S.W.3d 702, 707 (Tex. App.-Dallas 2004,
pet. ref'd).
11.  The Latin term "res gestae" literally translates as "things done."  See Charles E. Moylan, Jr.,
Res Gestae, Or Why Is that Event Speaking and What Is It Doing in this Courtroom?, 63
A.B.A.J. 968 (1977); 1A Roy R. Ray, Texas Practice: Texas Law of Evidence Civil and
Criminal § 911, at 144-45 (3d ed. 1980) (use of term "res gestae" creates confusion); G.T. Banks,
Comment, Res Gestae in the Texas Court of Criminal Appeals: A Method to Their Madness?, 50
Tex. L. Rev. 119, 119 (1971) (noting that most American courts had "use[d] the term to some extent,
but the Texas Court of Criminal Appeals seems to have gone the furthest in distilling chaos from
simplicity"); Michael E. Bornhouser, Comment, Res Gestae: A Synonym for Confusion, 20 Baylor
L. Rev. 229, 229 (1968) (the term res gestae "has been used to mean so many things that it is
impossible to know exactly what it does mean").
12.  See Davis, 547 U.S. at __, 126 S.Ct. at 2276-79 (911 caller seeking immediate assistance
during an emergency and describing events as they were occurring was making non-testimonial
utterances, while a different domestic-violence victim, who was no longer in the midst of an emergency
and was responding to police interrogation concerning recent past events, had time to reflect upon her
answers, thus her responses were "testimonial"); compare United States v. Manfre, 368 F.3d 832,
840 (8th Cir. 2004) (noting that declarant's description of a recent conversation with a third person was
not an unreflective present sense impression because the "opportunity for strategic modification
undercuts the reliability that spontaneity insures" as the declarant had to first drive or walk to meet the
third person).
13.  Tex. R. Evid. 803(1).
14.  Tex. R. Evid. 803.
15.  1A Roy R. Ray, supra, note 11, § 916, at 159-60 (citing Houston Oxygen Co. and noting
that "the report at the moment of the thing then seen, heard, etc. is safe from any error from defect of
memory of the declarant.  Secondly, there is little or no time for calculated misstatement").
16.  139 Tex. 1, 161 S.W.2d 474 (1942).
17.  Fed. R. Evid. 803(1) advisory committee's note. 
18.  139 Tex. at 5, 161 S.W.2d at 476.
19.  Id. 
20.  Id. at 6, 161 S.W.2d at 476.
21.  Rabbani v. State, 847 S.W.2d 555, 560 (Tex. Crim. App. 1992) (quoting 1A R. Ray,
supra, § 916, at 158-59).
22.  Commonwealth v. Farquharson, 354 A.2d 545, 554 (Pa. 1976).
23.  Commonwealth v. Coleman, 326 A.2d 387, 389 (Pa. 1974); see also United States v.
Brewer, 36 F.3d 266, 272 (2d Cir. 1994) (quoting treatise stating that the underlying rationale for the
exception is that "statements of present sense impression are considered reliable because the
immediacy eliminates the concern for lack of memory and precludes time for intentional deception.")
(quoting 4 Louisell, Federal Evidence § 438 (1980)); United States v. Peacock, 654 F.2d 339,
350 (5th Cir. 1981) (allowing testimony under Fed. R. Evid. 803(1) when the declarant described a
conversation to his wife "immediately following the telephone conversation" because there was "no
time" for the declarant to "consciously manipulate the truth").
24.  See, e.g., Hallums v. United States, 841 A.2d 1270, 1277 (D.C. 2004) (recognizing the
exception, but warning that "care must be taken to ensure that this exception is not used to admit
statements that circumstances reveal were not truly spontaneous, but instead involved conscious
reflection or recall from memory"); Illinois Central R.R. Co. v. Lowery, 63 So. 952, 953 (Ala. 1913)
(noting that the "mere fact that a declaration is contemporaneous with the transaction in issue, and even
relates to it and is prompted by it in a general way, does not render it admissible in evidence. . . . The
declaration must be instinctive rather than deliberative-in short, the reflex product of immediate sensual
impressions, unaided by retrospective mental action.").  
25.  See Houston Oxygen Co., 139 Tex. at 6, 161 S.W.2d at 476 (noting that there was "no
time for a calculated statement"); Anderson v. State, 15 S.W.3d 177, 183-84 (Tex. App.- Texarkana
2000, no pet.) (disallowing declarant's statements as a present sense impression because they "express
an opinion or conclusion"); Beauchamp v. State, 870 S.W.2d 649, 652 (Tex. App.-El Paso 1994,
pet. ref'd) ("We do not believe that a statement of opinion about a condition or event, as opposed to a
statement of description or explanation about something observed or otherwise sensed, qualifies as a
present sense impression."); see also Cody v. Harris, 409 F.3d 853, 860 (7th Cir. 2005) (noting that
one of the criteria for a present sense impression is that it describes "an event or condition without
calculated narration"); United States v. Mitchell, 145 F.3d 572, 576 (3d Cir. 1998) (citing
Weinstein's Evidence and McCormick's Evience in stating that "the declaration must be an
explanation or description of the event rather than a narration"); United States v. DesAnges, 921 F.
Supp. 349, 359 n.8 (W.D. Va. 1996) (stating the present sense impressions are "highly trustworthy"
because "there is little or no time for calculated misstatement").
26.  See United States v. Guevara, 277 F.3d 111, 127 (2d Cir. 2001) (affirming trial court's
exclusion of conversations recorded by police officer as a present sense impression "because they were
conclusions based upon information [the declarant] had processed rather than contemporaneous or
spontaneous statements that were inherently trustworthy"); United States v. Hamilton, 948 F. Supp.
635, 639 (W.D. Ky. 1996) ("With reflection, some reliability, which goes to the very essence of the
present sense impression hearsay exception, is lost.").  
27.  For example, suppose Officer Obie is quietly patrolling Congress Avenue when he hears his
dispatcher say, "A bank robber just left Frost Bank in a red Hummer with a black flag on the back
window."  A moment later the dispatcher hears Officer Obie:  "Oh my gosh!  A red Hummer with a
black flag just passed me going 60 m.p.h."  That statement would undoubtedly qualify as either a
present sense impression or, depending upon the excitement in Officer Obie's voice, an excited
utterance under Tex. R. Evid. 803(2).  That statement was an unreflective, unthinking, uncalculated
description of what he had just seen.  See, e.g., Green v. State, 876 S.W.2d 226, 228 (Tex.
App.-Beaumont 1994, no pet.) (officer's testimony that two witnesses shouted "The man in the brown
trench coat was shooting" as they were running from the direction in which shots were fired was
admissible under the rule; declarants were describing an event they had seen almost immediately before
encountering officer); see also United States v. Ruiz, 249 F.3d 643, 646 (7th Cir. 2001) (upholding
admission of surveilling officer's contemporaneous description of defendant and his movements at the
back of apartment building via radio to his partner who could not see the defendant from his post at the
front of the apartment building); State v. Penland, 724 N.E.2d 841, 845-47 (Ohio Ct. App. 1998)
(police officer's statements to dispatcher as he was pursuing fleeing suspect on foot and describing the
suspect, his appearance, and his ultimate apprehension qualified as present sense impression statements
because "[t]he circumstances surrounding the officer's transmission of the statements, especially the
perilous nature of the officer's pursuit of the appellant, supply sufficient indicia of the statements'
trustworthiness."); Knudsen v. Director, North Dakota Dept. of Trans., 530 N.W.2d 313, 317-18
(N.D. 1995) (in license-revocation hearing, testimony that patrol officer reported on his radio that he
"heard the accident take place" 100 yards away was admissible as his present sense impression).
28.  Johnson v. United States, 333 U.S. 10, 14 (1948).
29.  Fed. R. Evid. 803(8)(B); Tex. R. Evid. 803(8)(B).  Of course, Rule 803(8)(B) does not
necessarily apply to law-enforcement reports that are prepared in a non-adversarial setting, that are
unrelated to any specific litigation, and that record objective, neutral observations.  See Pondexter v.
State, 942 S.W.2d 577, 585 (Tex. Crim. App. 1996) ("We know that the reason for Federal Rule of
Evidence 803(8)(B), after which the Texas rule was modeled, was the presumed unreliability of
observations that are made by officers at the scene of a crime," but stating that when police officer was
performing his ordinary, routine duties of recording the property that was taken in and out of the police
property room, his observations and notations should be presumed reliable; matters observed or
recorded by police officers are admissible under Rule 803(8)(B) if the observations are made and
recorded in a ministerial manner); McLeod v. State, 56 S.W.3d 704, 710 (Tex. App.-Houston [14th
Dist.] 2001, no pet.) (noting that the information conveyed in a fingerprint card was made under a "duty
imposed by law as to which matters there was a duty to report," and that card contained only routine
observations, made in connection with the defendant's prior DUI conviction and should therefore be
presumed reliable under Rule 803(8)(B)); see generally, United States v. Quezada, 754 F.2d 1190,
1193-94 (5th Cir. 1985) (admitting a deportation warrant under Rule and noting that the recording of
unambiguous factual matter was inherently reliable because it was merely the result of a ministerial
objective observation and had none of the subjective features of reports made in a more adversarial
setting, such as the investigation of a crime scene).
30.  See Pondexter, 942 S.W.2d at 585 (Rule 803(8)(B), which excludes factual matters
observed by police officers, applies where possible impairment of judgment is implicated, such as
observations made by officers at the scene of a crime); Cole v. State, 839 S.W.2d 798, 811-12 (Tex.
Crim. App. 1992) (op. on reh'g) (quoting the legislative history of Fed. R. Evid. 803(8)(B) which
based the exclusion of police reports on the fact that they are created in an adversarial setting:  "'Police
reports, especially in criminal cases, tend to be one-sided and self-serving. They are frequently
prepared for the use of prosecutors, who use such reports in deciding whether to prosecute.'");
United States v. Quezada, 754 F.2d 1190, 1193-94 (5th Cir. 1985) (stating that the hearsay rule
excluding police offense reports "is based in part on the presumed unreliability of observations made by
law enforcement officials at the scene of a crime, or in the course of investigating a crime," and noting
that "a number of courts have drawn a distinction for purposes of Rule 803(8)(B) between law
enforcement reports prepared in a routine, non-adversarial setting, and those resulting from the arguably
more subjective endeavor of investigating a crime and evaluating the results of that investigation").
31.  Senate Report No. 1277, 93d Cong.2d Sess., reprinted in [1974] U.S. Code Cong. &amp; Ad.
News 7051, 7064 (quoted in United States v. Pena-Gutierrez, 222 F.3d 1087 (9th Cir. 2000); see
also Fed. R. Evid. 803, advisory committee's note (noting that the exclusionary language of Rule
803(8)(B) "is properly applied so as to exclude only those law enforcement reports that are subjective
and made under adversarial circumstances").
32.  See Commonwealth v. Farquharson, 354 A.2d 545, 554 (Pa. 1976) ("It must be certain
from the circumstances that the utterance is a reflex product of immediate sensual impressions, unaided
by retrospective mental processes."); Commonwealth v. Coleman, 326 A.2d 387, 389 (Pa. 1974)
(present sense impression is "instinctive, rather than deliberative"); compare United States v.
Hernandez-Rojas, 617 F.2d 533, 535 (9th Cir. 1980) (stating that "the subjective report made by a
law enforcement official in an on-the-scene investigation . . . lacks sufficient guarantees of
trustworthiness because [it is] made in an adversary setting [and is] likely to be used in litigation"). 
33.  See, e.g., Houston Oxygen Co. v. Davis, 139 Tex. 1, 6, 161 S.W.2d 474, 476 (1942);
Cody v. Harris, 409 F.3d 853, 860 (7th Cir. 2005) ("The three criteria for admission of a statement as
a present sense impression are:  '(1) the statement must describe an event or condition without
calculated narration; (2) the speaker must have personally perceived the event or condition
described; and (3) the statement must have been made while the speaker was perceiving the event or
condition, or immediately thereafter'") (emphasis added); United States v. Mitchell, 145 F.3d 572,
576 (3rd Cir. 1998).
34.  See Wilson v. State, 680 P.2d 1173, 1178 (Alaska Ct. App. 1984) (stating that the police
officer's dictated observations as he was following suspected DWI driver were not admissible under
hearsay rule; although the officer's comments were "arguably present sense impressions," the
statements were excludable because they "were, in effect, his report on the incident; as such, they did
not fit within any exceptions to the hearsay rule").
35.  See United States v. Woods, 301 F.3d 556, 562 (7th Cir. 2002) ("A declarant who
deliberates about what to say or provides statements for a particular reason creates the possibility that
the statements are not contemporaneous, and, more likely, are calculated interpretations of events
rather than near simultaneous perceptions."); see also State v. Goodloe, No. 32860-7-II, 2005 Wash.
App. LEXIS 3048, at *5-7 (Wash. Ct. App. Nov. 29, 2005) (not designated for publication) (police
officer's recorded statements to another officer concerning "controlled [drug] buy" were not admissible
under present sense impression exception to the hearsay rule; while the statements "satisfy many of the
elements of a present sense impression, they do not satisfy the most critical element:  that the events
evoke the utterance.  Here, they were part of a carefully planned investigation for the purpose of
gathering evidence against" the defendant); see generally, Davis v. Washington, 547 U.S. 813, ___,
126 S.Ct. 2266, 2278-79 (2006) (distinguishing between "nontestimonial" cries for assistance in an
emergency and non-emergency "testimonial" statements about recent past events).
36.  See, e.g., Boyd v. City of Oakland, 458 F. Supp. 2d 1015, 1036-37 (D. Cal. 2006)
(noting, in civil-rights suit alleging a public police strip-search, that the nature of the plaintiff's statements
to his mother-who was also his lawyer-raised the possibility that he was "perhaps contemplating
litigation" and that "constitutes a motive to lie"; further, the "declaration shows that it was not a
statement made spontaneously and without reflection.  Rather than being a burst of words describing
what he was presently perceiving or had perceived immediately beforehand, [plaintiff's] declaration
consists of a lengthy, detailed narrative account.  The coherence and structure of this account shows
that [plaintiff] 'was reflecting on the event' rather than spontaneously reacting to a present sensory
experience").
37.  This is a fine law enforcement policy, and an audio report may assist an officer as an aide
memoire to refresh his recollection before testifying, just as a written offense report assists him in
recollecting the events that had occurred.  But an offense report, in any form, is not admissible under
the hearsay rule; it is specifically barred by Rule 803(8)(B).  Whether that offense report is written on
paper or recorded digitally, it is still an offense report that sets out "matters observed by police officers
and other law enforcement personnel." 
38.  Fischer, 207 S.W.3d at 859.
39.  Johnson v. United States, 333 U.S. 10, 14 (1948).
40.  State's Brief at 7.
41.  Fischer, 207 S.W.3d at 861-62 (Yates, J., concurring) ("Generally, each hearsay exception
should be analyzed independently because 'evidence which is inadmissible under one hearsay exception
may often be admissible under another exception,'" but concluding that "the factors rendering hearsay
unreliable under Rule 803(8)(B) are relevant in assessing whether Martinez's statements constitute a
present sense impression.").  
42.  Cole v. State, 839 S.W.2d 798, 811 (Tex. Crim. App. 1992) (op. on reh'g).
43.  904 P.2d 688 (Utah App. 1995).
44.  Id. at 700.
45.  See Fischer, 207 S.W.3d at 854 (concluding that "the narrow issue before us was not
presented in Blubaugh, but rather, appears to have been waived").
46.  80 F. App'x 836, 843 (4th Cir. 2003) (not designated for publication), vacated on other
grounds, 543 U.S. 1116 (2004).
47.  Id. at 843 (stating that Fed. R. Evid. 803(1) "permits the admission of hearsay when it
involves a statement 'describing or explaining an event or condition made while the declarant was
perceiving the event or condition, or immediately thereafter.'  Here, [defendant] has given us no reason
to doubt that any narration heard by the jury fit within this rule.  Accordingly, we find no error in the
denial of [defendant's] blanket objection.").
48.  724 N.E.2d 841 (Ohio Ct. App. 1998).
49.  Id. at 845-46.
50.  Id. 
51.  See supra, note 27.
52.  See Davis v. Washington, 547  U.S. 813, ___, 126 S.Ct. 2266, 2278 (2006).
53.  See, e.g., Boyd v. City of Oakland, 458 F. Supp. 2d 1015, 1036-37 (D. Cal. 2006). 




